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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                      Plaintiff

v.                                  Case No.: 4:13−cr−00068−JM

Kenneth Eugene Brown, II                                                    Defendant




                                NOTICE OF HEARING


     PLEASE take notice that a Revocation Superv Rls−FinalHrg has been set in this case
for May 25, 2023, at 01:00 PM before Judge James M. Moody Jr. in Little Rock
Courtroom # 4A in the Richard Sheppard Arnold United States Courthouse located at 600
West Capitol Avenue, Little Rock, Arkansas.



DATE: May 17, 2023                               AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                      By: Kacie O. Glenn, Deputy Clerk




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U.S. Marshals Service, Eastern District of Arkansas
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